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                             IN THE UNITED STATES BANUPTCY COURT

                                      FOR THE DISTRICT OF DELAWAR

 In re:                                                              )         Chapter 11
                                                                     )
 W. R. GRACE & CO., et aI.,i                                         )         Case No. 01-01139 (JKF)
                                                                     )         Jointly Administered
                              Debtors.                               )
                                                                               Re: Docket No.
                                                                               2/16/10 Agenda #_

            ORDER AUTHORIZING EXTENDING THE TERM OF THE CREDIT
            AGREEMENT WITH ADVANCED REFINING TECHNOLOGIES LLC

          Upon consideration of the "Debtors' Motion for an Order Authorizing Extending the

Term of the Credit Agreement with Advanced Refining Technologies LLC' (the "Motion"); and

due and proper notice of the Motion having been given; and it appearing that the relief requested

in the Motion is in the best interests of the Debtors,2 their estates and creditors, it is hereby

          ORDERED that the Motion is granted; and it is further

          ORDERED that the Debtors are hereby authorized to amend Grace's ART Credit

Agreement to extend its term to February 28, 2011 and reduce Grace's commitment thereunder

from $20.25 million to $15 million; and it is further


      1 The Debtors consist of
                               the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W. R. Grace
& Co.-Conn., A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc.
(f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food 'N Fun Company, Darex Puerto
Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/ka Dewey and Almy Company), Ecarg, Inc., Five Alewife
Boston Ltd., G C Limited Partners I, Inc. (f/ka Grace Cocoa Limited Parters I, Inc.), G C Management, Inc. (f/k/a Grace Cocoa
Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities
Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace
Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II            I.

Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures
Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc.,
Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (f/ka GHSC Holding, Inc., Grace NH, Inc., Asbestos
Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (f/k/a Nestor-BNA Holdings
Corporation), MRA Intermedco, Inc. (fla Nestor-BNA, Inc.), MRA Staffng Systems, Inc. (fla British Nursing Association,
Inc.), Remedium Group, Inc. (f/ka Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming,
Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Parters (fla Cross
Country Staffng), Hayden-Gulch West Coal Company, H-G Coal Company.
     2 Capitalized terms not defined herein shall have the meaning ascribed to them in the Motion.
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         ORDERED that the Debtors are authorized to take whatever other actions may be

necessary to consummate the transactions contemplated by this Order; and it is further

         ORDERED that the Court shall retain jursdiction to hear and determine all matters

arising from or relating to the implementation of this Order; and it is further

         ORDERED that this Order is effective immediately upon its entry.


Dated:                  ,2010


                                                      The Honorable Judith K. Fitzgerald
                                                      U. S. Bankptcy Judge
